                Case 2:14-cr-00145-RAJ       Document 25     Filed 06/16/14   Page 1 of 2




 1                                                              The Honorable Richard A. Jones
 2
 3
 4
 5
 6
 7                             UNITED STATES DISTRICT COURT FOR THE
                                 WESTERN DISTRICT OF WASHINGTON
 8
                                           AT SEATTLE
 9
      UNITED STATES OF AMERICA,                            NO. CR14-145RAJ
10
                                Plaintiff,
11                                                         ORDER GRANTING STIPULATED
                          v.                               MOTION TO CONTINUE TRIAL DATE
12
                                                           AND PRETRIAL MOTIONS DEADLINE
      JORGE CARLOS CAMPS,
13
      ROGER LEE HIDDLESTON,
14
                               Defendants.
15
16
17              The Court has considered the stipulated motion filed by the government and

18 defendants JORGE CARLOS CAMPS and ROGER LEE HIDDLESTON, by and
19 through their undersigned attorneys, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B),
20 requesting a continuance of the trial in this case.
21        THE COURT FINDS, for all of the reasons set forth in the motion, that continuing

22 the trial in this case is necessary to allow defense counsel adequate time to investigate the
23 case and to effectively prepare for trial and the filing of pre-trial motions.
24              THE COURT FURTHER FINDS, considering the complexity of this case due to

25 the nature of the prosecution and the charges contained in the Superseding Indictment,
26 that it would be unreasonable to expect adequate preparation for pre-trial proceedings or
27 for the trial itself without a continuance of the trial and pre-trial motions dates. See 18
28 U.S.C. § 3161(h)(7)(B)(ii).
     Order -1                                                                  UNITED STATES ATTORNEY
                                                                              700 STEWART STREET, SUITE 5220
                                                                                SEATTLE, WASHINGTON 98101
                                                                                      (206) 553-7970
                Case 2:14-cr-00145-RAJ     Document 25     Filed 06/16/14    Page 2 of 2




 1              THE COURT FURTHER FINDS, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B),
 2 that the ends of justice served by continuing the trial in this case outweigh the interest of
 3 the public and of the defendants in a more speedy trial.
 4              IT IS THEREFORE ORDERED that the parties’ stipulated motion (Dkt. #24) is
 5 GRANTED. The trial in this matter shall be continued from July 21, 2014 to
 6 November 17, 2014; and
 7              IT IS FURTHER ORDERDD that the period of time from the date of this Order,
 8 up to and including the new trial date of November 17, 2014, shall be excludable time
 9 under 18 U.S.C. § 3161(h)(7)(A); and
10              IT IS FURTHER ORDERED that all pretrial motions, including motions in
11 limine, shall be filed no later than October 2, 2014.
12              DATED this 16th day of June, 2014.
13
14                                                    A
15                                                    The Honorable Richard A. Jones
16                                                    United States District Judge

17
18
19
20
21
22
23
24
25
26
27
28
     Order -2                                                                 UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5220
                                                                               SEATTLE, WASHINGTON 98101
                                                                                     (206) 553-7970
